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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS


Criminal No. 19-10080-NMG


                             UNITED STATES OF AMERICA


                                             v.


                                ELIZABETH HENRIQUEZ


                         ORDER RE CONFLICT OF INTEREST

                                      June 17, 2019
KELLEY, U.S.M.J.

       The government moved for a hearing concerning conflicts of interest with regard

to counsel retained by Ms. Henriquez (#400). Ms. Henriques is represented by the law

firm of Ropes & Gray LLP. Douglas Hodge, a co-defendant, is also represented by that

firm. Ms. Henriques filed an ex parte motion under seal explaining her position

concerning the government’s motion (#420).

       The court held a hearing today pursuant to Rule 44(c), Fed. R. Crim. P. At the

hearing, Attorney Aaron Katz appeared on behalf of Ms. Henriquez. The government

stated that it did not object to the joint representation of Ms. Henriquez and Mr. Hodge.

       At the hearing, the court explained to Ms. Henriquez that when

codefendants are represented by the same counsel or law firm, conflicts may

affect the quality of their representation. The court set out possible problems, for

example, the fact that joint representation might preclude one defendant from


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engaging in plea bargaining or might otherwise interfere with a favorable

disposition of the charges against that defendant.

       The court further advised Ms. Henriquez that she has an absolute right to

representation by separate counsel of her own choosing.

       At the hearing, Attorney Katz reported that he had reviewed the matter of joint

representation with Ms. Henriquez.

       Ms. Henriquez acknowledged that she is aware of the problems with her

attorney’s representation of her, she is aware that he is entitled to be represented

by separate counsel, and that present counsel have discussed the matter with

her.

       Notwithstanding the potential for conflicts of interest to arise, Ms.

Henriquez still chooses to be represented by present counsel.

       This court finds and concludes that Ms. Henriquez knowingly, intelligently, and

voluntarily waived her right to be represented by separate counsel.

       This court accordingly concludes, pursuant to Rule 44(c), Fed. R. Crim. P., that

she shall be represented by present counsel. She may, at a later time, because of new

developments or otherwise, retain separate counsel. Should Ms. Henriquez conclude

that representation by separate counsel is appropriate in the circumstances, that

decision shall be made promptly upon discovery of the facts warranting that decision.

As explained by this court during the colloquy with Ms. Henriquez, a judge is not

obligated to continue a trial date based upon a late decision to obtain new counsel.

       Present counsel shall immediately notify this court in writing should counsel

become aware of new information bearing on the question of joint representation.


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                            /s/ M. Page Kelley
                            UNITED STATES MAGISTRATE JUDGE




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